 Case 19-10782      Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04            Desc Main
                                Document     Page 1 of 38


                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                            DISTRICT OF MASSACHUSETTS


In re                                               IN PROCEEDINGS UNDER
ANDREW GREENHUT,                                    CHAPTER 13
               Debtor                               CASE NO.: 19-10782


  OBJECTION OF DEBTOR IN RESPONSE TO SECOND MOTION OF CREDITOR
GITA SRIVASTAVA TO COMPEL DEBTOR TO WITHDRAW FILING AND REDACT
DOCUMENT AND REQUEST FOR ORDER TO SHOW CAUSE WHY THE MOVANT
        OR HER COUNSEL OR BOTH SHOULD NOT BE SANCTIONED

      NOW COMES the Debtor, Andrew Greenhut, and, pursuant to Fed. R. Bankr. Pro. 9037

 and MLBR 9037-1, hereby responds to the Supplemental Motion of Creditor Gita Srivastava

 (the “Creditor”) to Compel Debtor to Withdraw Filing and Redact Document (the “Motion”) as

 follows:


 1. The Debtor admits the allegations contained in Paragraph 1 of the Motion.

 2. The Debtor admits so much of Paragraph 2 of the Motion concerning this Court’s Orders

    restricting access to Claims Objection exhibits, but denies all remaining allegations

    contained therein.

 3. The Debtor admits so much of Paragraph 3 of the Motion concerning the Debtor’s filing of

    a Redacted version of the Objection of Debtor to The Amended Proof of Claim of Gita

    Srivastava Claim No. 8 and Request for Evidentiary Sanctions Under Fed. R. Bankr. Pro.

    3001(c)(2)(D) (the “Debtor’s Redacted Claim Objection”), but denies all other allegations

    contained therein.

 4. The Debtor denies the factual allegations contain in Paragraph 4 of the Motion.
Case 19-10782       Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04            Desc Main
                                Document     Page 2 of 38


                         REQUEST FOR SHOW CAUSE ORDER


     The Debtor respectfully requests that the Court issue an Order, pursuant to Fed. R. Bankr.

Pro. 9011(c)(1)(B), for the Movant and her Counsel to Show Cause why they should not be

sanctioned for failing to timely withdraw the Movant’s Supplemental Motion of Creditor Gita

Srivastava to Compel Debtor to Withdraw Filing and Redact Document for the following

reasons:


1. On April 17, 2017, the Texas State District Court for the 470th Judicial District of Collin

   County Texas issued an “Order on Motion to Seal Court Records”, that superseded any

   prior orders concerning the availability of documents filed concerning the Movant and

   Debtor’s Divorce Proceedings (the “Sealing Order of April 17, 2017”). A true and accurate

   copy of the Protective Order of April 17, 2017 is attached hereto as Exhibit “A”.

2. On September 18, 2017, the 470th Judicial District of Collin County Texas issued an “Order

   on Redactions of Sensitive Data”. This Order traced a timeline that included a notification

   of that Court’s intention to unseal the entire court file concerning the Movant and Debtor’s

   Divorce Proceedings (the “Order on Redactions of Sensitive Data of September 18, 2017”).

   A true and accurate copy of the Order on Redactions of Sensitive Data of September 18,

   2017 is attached hereto as Exhibit “B”.

3. As part of the Order on Redactions of Sensitive Data of September 18, 2017, the court,

   with the exception of certain pleadings that are not relevant to this Chapter 13 case or the

   Debtor’s Redacted Claim Objection, ordered that “upon the lifting of this day by the 5th

   District Court of Appeals, the April 17, 2017 order on Motion to Seal Court Records be

   immediately vacated and the court records in cause numbers 470-01775-2016 and 470-

   05429-2016 be immediately unsealed.” (Emphasis original).
Case 19-10782       Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04             Desc Main
                                Document     Page 3 of 38


4. On February 14, 2018, after the Movant had sought a Writ of Mandamus, the 5th District

   Court of Appeals, in rejecting the Movant’s Request simply issued an Order redacting the

   parties’ child’s name and date of birth from all documents that were filed in the trial court

   in the bill of review proceedings. A true and accurate copy of the Decision and Order of the

   Texas 5th District Court of Appeals dated February 12, 2018 is attached hereto as Exhibit

   “C”.

5. The same day that the Texas 5th District Court of Appeals entered its Order, on February

   12, 2018, the Texas State District Court for the 470th Judicial District of Collin County

   Texas issued a “Second Order on Redactions of Sensitive Data” that provided, in pertinent

   part, that “[u]pon the appellate courts lifting of its August 24, 2017 order staying this

   court’s decision to unseal the records in cause numbers 470-01775-2016 and 470-05429-

   2016, it is ORDERED that those cause numbers be immediately unsealed pursuant to this

   Court’s July 26, 2017 ruling and the September 18, 2017 order.” (Emphasis supplied). A

   true and accurate copy of the Second Order on Redactions of Sensitive Data is attached

   hereto as Exhibit “D”

6. On June 20, 2019 Debtor’s Counsel sent to Movant’s Counsel emails that included copies

   of both the original Order on Redactions of Sensitive Data dated September 18, 2017 and

   the Decision and Order of the Texas 5th District Court of Appeals dated February 12, 2018,

   and requested that, based upon the fact that the records of the parties’ divorce proceeding

   had, in fact been and remain unsealed since at least February 12, 2018, the Movant

   immediately file a withdrawal of the Movant’s Supplemental Motion of Creditor Gita

   Srivastava to Compel Debtor to Withdraw Filing and Redact Document. A true and
Case 19-10782       Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04            Desc Main
                                Document     Page 4 of 38


   accurate copy of the emails sent to Movant’s Counsel on June 20, 2019 are attached hereto

   as Exhibit “E”

7. Despite Debtor’s Counsel providing clear and comprehensive evidence that there exists no

   outstanding order sealing the records of the parties’ divorce proceeding, completely

   undercutting the factual basis for continuing with the Supplemental Motion of Creditor

   Gita Srivastava to Compel Debtor to Withdraw Filing and Redact Document, Movant and

   her Counsel have failed and refused to file a notice of withdrawal of the Supplemental

   Motion of Creditor Gita Srivastava to Compel Debtor to Withdraw Filing and Redact

   Document, thereby unnecessarily requiring the Debtor’s Counsel to expend time defending

   the Movant’s Supplemental Motion, despite the fact that they were put on notice that the

   continuation of said motion was, in reality, wholly without basis in fact.

8. Indeed, other than the small redactions for the Debtor’s child’s birth date, none of the

   documents included as exhibits to the Debtor’s Redacted Claim Objection, contain any

   documents that were ever subject to any impoundment order of any court, as they are

   Orders of the issuing Court itself and not any pleading of either party.

WHEREFORE, the Debtor respectfully requests that the Court issue an Order:

 1. Denying the Supplemental Motion of Creditor Gita Srivastava to Compel Debtor to

     Withdraw Filing and Redact Document

 2. Directing the Movant and her Counsel to Show Cause, pursuant to Fed. R. Bankr. Pro.

     9011(c)(1)(B), why they should not be sanctioned for failing to timely withdraw the

     Movant’s Supplemental Motion of Creditor Gita Srivastava to Compel Debtor to

     Withdraw Filing and Redact Document; and
 Case 19-10782       Doc 69    Filed 06/24/19 Entered 06/24/19 12:09:04           Desc Main
                                Document     Page 5 of 38


   3. For such other and further relief as the court deems mete and proper under the

      circumstances.

                                           ANDREW GREENHUT, Debtor,
                                           By her attorney,


Date:6/24/2019                             /s/Richard N. Gottlieb, Esq.
                                           Richard N. Gottlieb, Esq. BBO # 547970
                                           Law Offices of Richard N. Gottlieb
                                           Ten Tremont Street
                                           Suite 11, 3rd Floor
                                           Boston, MA 02108
                                           (617)742-4491
                                           rnglaw@verizon.net
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 6 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 7 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 8 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 9 of 38
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Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc   Main
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                          Document       Page 10 of 38                               DALLAS, TEXAS
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Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 11 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 12 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 13 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 14 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 15 of 38
   Case 19-10782                  Doc 69          Filed 06/24/19 Entered 06/24/19 12:09:04                                        Desc Main
                                                   Document     Page 16 of 38


Conditionally granted in part, Denied in part, and Opinion Filed February 12, 2018




                                                                      In The
                                             Court of Appeals
                                      Fifth District of Texas at Dallas
                                                           No. 05-17-00998-CV

                                            IN RE GITA SRIVASTAVA, Relator

                          Original Proceeding from the 470th Judicial District Court
                                            Collin County, Texas
                                    Trial Court Cause No. 470-05429-2016

                                             MEMORANDUM OPINION
                                          Before Justices Lang, Myers, and Boatright
                                                  Opinion by Justice Myers
           The underlying proceeding relates to the redaction of certain information included in the

trial court records and trial transcript of bill of review proceedings relating to divorce and parental

termination proceedings. In this original proceeding, relator complains that the trial court refused

to redact certain information from the record of those proceedings that relator contends is sensitive

data requiring redaction either under Rule 21c of the rules of civil procedure or pursuant to

constitutionally-protected privacy interests. Relator seeks a writ of mandamus directing the trial

court to redact the information from the trial transcript1 and documents filed in the trial court. We

conditionally grant the writ in part and deny the writ in part.




     1
       Relator and the trial court use the term “trial transcript” to describe the court reporter’s record of testimony and argument at trial, and the
term “trial exhibits” to describe the exhibits admitted into evidence at trial. The parties have agreed to seal the trial exhibits, but disagree on what
should be redacted from the trial transcript. For consistency and to avoid confusion, we refer to the court reporter’s record of testimony and
argument at trial as the “trial transcript” rather than as the “reporter’s record.”
  Case 19-10782       Doc 69      Filed 06/24/19 Entered 06/24/19 12:09:04             Desc Main
                                   Document     Page 17 of 38


                                            Background

       Relator Gita Srivastava and real party in interest Andrew Greenhut were married in 2007

and, in January 2015, had a child. Srivastava filed for divorce later that year. The trial court

ultimately entered an “Agreed Order of Termination of Parent-Child Relationship” that terminated

Greenhut’s parental rights and entered an “Agreed Final Decree of Divorce.” In 2016, Greenhut

filed two separate bills of review; one challenged the parental termination order and the other

challenged the agreed final divorce decree. Srivastava moved to seal the court records in the bill

of review proceedings. And, on April 17, 2017, the trial court granted Srivastava’s motion to seal

court records. The sealing order states that “all documents bearing” either of the bill of review

cause numbers “are sealed” and “may only be released to either party, an attorney for either party,

or a staff member of an attorney for either party on that attorney’s behalf.” The trial court denied

the bills of review on June 13, 2017. The trial court then held a hearing on its own motion to

unseal the court records in the bill of review proceedings and stated that the court would unseal

the bill of review records on August 25, 2017.

       In her petition for writ of mandamus, Srivastava complained that the trial court had not

given the parties a meaningful opportunity to meet and to reach agreements on what sensitive data

should be redacted from the record. Srivastava sought a writ staying the trial court’s decision to

unseal the records until the parties are given a meaningful opportunity to review the trial transcript

and exhibits and request appropriate redactions. We stayed the trial court’s decision to unseal the

records and requested a response to the petition from Greenhut. The trial court then directed the

parties to schedule a conference with the court to review the trial exhibits and filed documents to

identify sensitive data requiring redaction. The trial court also directed the parties to schedule a

hearing for the court to rule on any contested issues relating to the requested redactions.




                                                 –2–
  Case 19-10782         Doc 69      Filed 06/24/19 Entered 06/24/19 12:09:04                 Desc Main
                                     Document     Page 18 of 38


        The trial court then signed an “Order on Redactions of Sensitive Data.” The redaction

order states that the parties agreed to seal the trial exhibits and agreed to file a list of trial transcript

page and line numbers that contain Rule 21c sensitive data for review by the court “and if any

exists, the sensitive data will be protected from release.” The trial court also agreed to permit

redaction of “full personal identification numbers and full financial account numbers” from the

trial transcript “due to privacy concerns,” but found that no such information appears in the

transcript. The redaction order also includes the trial court’s findings regarding Rule 21c and

unsealing the court records. Specifically, the trial court found that the family code requires the

child’s name and date of birth to be included in the court records, Rule 21c “entitles” parties to

redact sensitive data in documents filed with the court but does not require redaction of the

information from the trial transcript, Rule 76a was not followed with respect to sealing the court

records, the child was not a party to or represented by an attorney ad litem in the divorce,

termination, or bill of review proceedings, and the “orders herein are in the best interest of the

child.” The trial court ordered the court reporter to seal the trial exhibits from the bill of review

proceedings and to redact an address in the trial transcript that might be the child’s home address.

The court also ordered the district clerk to seal three specific pleadings and noted that the redacted,

substituted versions of pleadings and orders containing sensitive data had been provided to the

district clerk.

        Srivastava then filed a “Status Report Filed Under Seal” with this Court, complaining that

the redaction order did not redact all sensitive data and should be vacated or modified. We treat

the status report as an amended petition. In that status report. Srivastava asks for a writ ordering

the district court to either redact the remaining sensitive data from the trial transcript and pleadings

or order the district court to partially vacate its redaction order to the extent that order unseals the

documents containing the sensitive data. Srivastava also asks the Court to order the district court

                                                    –3–
  Case 19-10782        Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04            Desc Main
                                   Document     Page 19 of 38


to partially vacate the redaction order to the extent it unseals documents from the original divorce

and termination proceedings that were sealed in those cases by agreement and attached as exhibits

to pleadings in the two bills of review. The real party in interest filed a response to Srivastava’s

“status report filed under seal,” and Srivastava filed a reply brief.

                                        Standard of Review

       To be entitled to mandamus relief, a relator must show both that the trial court has clearly

abused its discretion and that relator has no adequate appellate remedy. In re Prudential Ins. Co.,

148 S.W.3d 124, 135–36 (Tex. 2004) (orig. proceeding). “Documents once unsealed cannot

effectively be resealed after appeal.” Upjohn Co. v. Marshall, 843 S.W.2d 203, 205 (Tex. App.—

Dallas 1992, no writ). There is, thus, no adequate remedy by appeal of an erroneous order

requesting a party to produce privileged or protected documents. In re York Risk Servs. Group,

Inc., No. 12-17-00210-CV, 2017 WL 5622951, at *2 (Tex. App.—Tyler Nov. 22, 2017, orig.

proceeding); Pittsburgh Corning Corp. v. Caldwell, 861 S.W.2d 423, 424 (Tex. App.—Houston

[14th Dist.] 1993, orig. proceeding) (“Clearly, once privileged information is disclosed, there is no

way to retrieve it; therefore, mandamus is an appropriate remedy to prevent the publication of

confidential documents.”). Mandamus is, therefore, the appropriate remedy where protected

material is ordered discoverable. In re Higgins, 246 S.W.3d 744, 745 (Tex. App.—Eastland 2007,

orig. proceeding) (citing In re Anderson, 973 S.W.2d 410, 411 (Tex. App.—Eastland 1998, orig.

proceeding)).

                                             Discussion

       Srivastava asserts three general grounds for her complaint that the trial court abused its

discretion by denying her requested redactions. First, she argues that the information sought to be

redacted but denied is sensitive data that must be redacted pursuant to Rule 21c. Second, she

argues that the information should be redacted because the information falls within her and the


                                                 –4–
  Case 19-10782       Doc 69      Filed 06/24/19 Entered 06/24/19 12:09:04               Desc Main
                                   Document     Page 20 of 38


child’s zone of privacy and there is no legitimate public concern for unsealing such sensitive

information. Third, Srivastava maintains that the trial court abused its discretion by lifting the

sealing order. We address each argument in turn.

A.     Redaction under Rule 21c

       Sensitive data must be redacted from documents “filed with a court” unless the information

is required to be included by a statute, rule, or administrative regulation. TEX. R. CIV. P. 21c(b).

Rule 21c(a) defines “sensitive data” as the following:

       (1) a driver's license number, passport number, social security number, tax
       identification number, or similar government-issued personal identification
       number;

       (2) a bank account number, credit card number, or other financial account number;
       and

       (3) a birth date, home address, and the name of any person who was a minor when
       the underlying suit was filed.

TEX. R. CIV. P. 21c(a)(1), (2), (3). Srivastava complains that the following information must be

redacted from some or all of the trial record pursuant to Rule 21c:

              The child’s name in pleadings, depositions, orders, and the trial transcript;

              The child’s date of birth in pleadings, depositions, orders, and the trial
               transcript;

              The name of the child’s physician in pleadings and the trial transcript;

              Discussions in the trial transcript of the real party in interest’s lists of what
               Srivastava describes as disturbing sexual and violent fantasies about
               Srivastava and the child; and

              The real party in interest’s lists of the above-mentioned fantasies, which
               were exhibits to the pleadings in the bills of review.

       Neither the name of the child’s physician nor the lists or discussions of the real party in

interest’s fantasies are defined as sensitive data under Rule 21c. As such, we conclude that Rule

21c does not require the trial court to redact the name of the child’s physician or the lists or

discussion of the real party in interest’s fantasies. We deny the petition for writ of mandamus to
                                                 –5–
  Case 19-10782        Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04              Desc Main
                                   Document     Page 21 of 38


the extent Srivastava seeks a writ ordering the trial court to redact that information pursuant to

Rule 21c.

       But the child’s name and date of birth are considered sensitive data under Rule 21c. The

trial court was, therefore, required to redact the child’s name and date of birth from documents

“filed with a court” unless the information is required to be included by a statute, rule, or

administrative regulation. TEX. R. CIV. P. 21c(b). In denying the request for redaction of the

child’s name and date of birth, the trial court found “that the inclusion of the child’s name and date

of birth is specifically required by the Texas Family Code.” Srivastava avers that this finding is

based on the trial court’s belief that section 102.008(b)(2) of the family code requires the disclosure

of the child’s name and birth date in all court filings.

       Section 102.008(b)(2) requires the child’s name and date of birth to be included in a petition

in a suit affecting the parent-child relationship (SAPCR). TEX. FAM. CODE § 102.008(b)(2). Here,

Srivastava maintains that the child’s name and birth date are included in documents filed in two

bills of review and in the trial transcript and those documents do not include a SAPCR petition.

Section 102.008 is, thus, inapplicable here, and Rule 21c controls and requires the information be

redacted from any documents filed in the trial court in the bill of review proceedings. Because

Rule 21c(a)(3) defines the child’s name and date of birth as “sensitive data” and Rule 21c(b)

requires that all such sensitive data must be redacted from documents filed in the trial court, the

trial court abused its discretion by denying the request to redact the child’s name and date of birth

from documents filed in the trial court. Accordingly, we conditionally grant the petition for writ

of mandamus as to Srivastava’s request that the child’s name and date of birth be redacted from

documents that were filed in the trial court in the bill of review proceedings.

       The answer is less clear regarding whether the child’s name and date of birth must be

redacted from the trial transcript pursuant to Rule 21c(b) because it is unclear whether the trial

                                                 –6–
  Case 19-10782        Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04               Desc Main
                                   Document     Page 22 of 38


transcript has been filed with the trial court. Rule 21c(b) speaks specifically to “the filing” of

documents containing sensitive data and applies to documents “filed with a court.” TEX. R. CIV. P.

21c(b). If the trial transcript has been filed with the trial court or is considered a document “filed

with a court” regardless of whether it has been physically filed, then it falls under Rule 21c(b) and

the trial court was required to grant the redaction request. But if the trial transcript has not been

filed with the trial court, then the transcript does not fall under the plain language of Rule 21c and

the trial court is not required to redact that information under Rule 21c.

       The parties do not address whether trial or hearing transcripts are subject to Rule 21c, and

we have found no authorities directly answering that question. However, a document is filed

“when it is tendered to the clerk, or otherwise put under the custody or control of the clerk”. Jamar

v. Patterson, 868 S.W.2d 318, 319 (Tex. 1993); Standard Fire Ins. Co. v. LaCoke, 585 S.W.2d

678, 680 (Tex. 1979) (“an instrument is deemed in law filed at the time it is left with the clerk,

regardless of whether or not a file mark is placed on the instrument and regardless of whether the

file mark gives some other date of filing”); see also TEX. R. CIV. P. 74 (“The filing of pleadings,

other papers and exhibits as required by these rules shall be made by filing them with the clerk of

the court”). Here, the record does not show that the trial transcript has been tendered to the clerk

or otherwise placed in the clerk’s custody or control. The trial transcript, thus, has not been “filed.”

And, although the trial transcript is the record of what happened in open court, we conclude that

the transcript, standing alone, is not currently a document filed with the court for purposes of Rule

21c. See In re M-I L.L.C., 505 S.W.3d 569, 579 (Tex. 2016) (the testimony given at a hearing is

not a court record as defined by Rule 76a and is not by itself a document “filed in connection with

any matter before any civil court”). Accordingly, we deny the petition for writ of mandamus to

the extent it seeks a writ ordering the trial court to redact the child’s name and date of birth from

the trial transcript pursuant to Rule 21c.

                                                 –7–
  Case 19-10782       Doc 69      Filed 06/24/19 Entered 06/24/19 12:09:04             Desc Main
                                   Document     Page 23 of 38


B.     Redaction to protect privacy concerns

       Srivastava also argues that the child’s name, date of birth, physician’s name, trial testimony

regarding Greenhut’s lists of allegedly sexual and violent fantasies, and the lists of those fantasies

should be redacted or remain sealed because the information falls within her and the child’s zone

of privacy and there is no legitimate public concern for unsealing such sensitive information.

Srivastava relies on the general law providing that the Texas Constitution protects personal privacy

from unreasonable intrusion. See, e.g., Tex. State Emps. Union v. Tex. Dept. of Mental Health &

Mental Retardation, 746 S.W.2d 203, 205 (Tex. 1987). “This right to privacy should yield only

when the government can demonstrate that an intrusion is reasonably warranted for the

achievement of a compelling governmental objective that can be achieved by no less intrusive,

more reasonable means.” Id.

       In deciding whether or not to seal court records, the trial court must “balance the public’s

interest in open court proceedings against an individual litigant’s personal or proprietary interest

in privacy.” Nguyen v. Dallas Morning News, L.P., No. 02-06-298-CV, 2008 WL 2511183, at *4

(Tex. App.—Fort Worth June 19, 2008, no pet.) (mem. op.) (quoting Gen. Tire, Inc. v. Kepple,

970 S.W.2d 520, 526 (Tex. 1998)). A trial court abuses its discretion by sealing court records if

the record does not show “a specific, serious and substantial interest which clearly outweighs this

presumption of openness. . . .” Boardman v. Elm Block Dev. Ltd. P’ship, 872 S.W.2d 297, 299

(Tex. App.—Eastland 1994, no writ). Certain personal matters fall within a “constitutionally

protected zone of privacy,” including matters related to “[m]arital relationships, procreation,

contraception, family relationships, child rearing and education, and medical records. . . .” Nguyen,

2008 WL 2511183 at *4. “Although there is a presumption under Texas law that the public has

no legitimate interest in private embarrassing facts about private citizens, whether a given matter




                                                 –8–
  Case 19-10782        Doc 69      Filed 06/24/19 Entered 06/24/19 12:09:04              Desc Main
                                    Document     Page 24 of 38


is of legitimate public concern depends on the factual context of each particular case, the nature of

the information, and the public’s legitimate interest in its disclosure.” Id.

        The protection of children from abuse “is of the utmost importance in Texas” and

information regarding such abuse has been found to be of legitimate public concern such that a

trial court does not abuse its discretion by refusing to seal or redact the information. Id. (trial court

did not abuse its discretion by refusing to seal personnel files that included allegations of sexual

assaults of children by a priest). Similarly, in Backes v. Misko, this Court found in an Anti-SLAPP

case that statements indicating a child may be suffering abuse related to health or safety and fell

within the statutory definition of matter of public concern. 486 S.W.3d 7, 18 (Tex. App.—Dallas

2015, pet. denied) (citing TEX. CIV. PRAC. & REM. CODE § 27.001(7)); see also Shipp v. Malouf,

439 S.W.3d 432, 438 (Tex. App.—Dallas 2014, pet. denied) (“A matter of public concern is

defined broadly; therefore, the legislature expressed its intent that the statute, enacted to protect

the right of free speech, be construed broadly”).

        Srivastava contends that the trial court abused its discretion by refusing to redact

information Srivastava believes falls within her and her child’s zone of privacy. To establish an

abuse of discretion, the relator must establish that the trial court could reasonably have reached

only one decision. Walker v. Packer, 827 S.W.2d 833, 839–40 (Tex. 1992) (orig. proceeding).

“Even if the reviewing court would have decided the issue differently, it cannot disturb the trial

court’s decision unless it is shown to be arbitrary and unreasonable.” Id. Here, the information

regarding the real party in interest’s alleged fantasies certainly sounds like information that one

would consider private and embarrassing. However, Srivastava has not provided a transcript from

the hearings regarding the redactions or a sealed copy of the information at issue. She has merely

presented her opinion that this information, as well as the physician’s name, is private and subject

to privacy protections. In light of the authorities permitting information regarding child abuse to

                                                  –9–
  Case 19-10782       Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04            Desc Main
                                  Document     Page 25 of 38


be unsealed and the lack of a complete record, Srivastava has not shown that the trial court could

have reached only one decision with respect to whether privacy interests clearly outweighed the

presumption of openness. See D.B. v. Rodriguez, No. 04-00-00335-CV, 2000 WL 33128680, at

*2 (Tex. App.—San Antonio Dec. 6, 2000, pet. denied) (not designated for publication) (trial court

did not abuse its discretion by denying motion to seal party’s medical records showing Hepatitis

C diagnosis). This Court may not make factual determinations regarding disputed facts or

substitute its opinion for the trial court’s opinion.      See Walker, 827 S.W.2d at 839–40.

Accordingly, we conclude that the trial court did not abuse its discretion in refusing to redact the

information pursuant to privacy concerns.

C.     Lifting of the order sealing the bill of review records

       Srivastava avers that the underlying divorce and termination proceedings were sealed by

agreement of the parties and that documents from those proceedings are part of the records in the

bill of review proceedings. She complains that the sealed records from the underlying proceedings

will be impermissibly unsealed and made public when the trial court lifts the sealing order

regarding the records from the bill of review proceedings. Srivastava has not provided a copy of

the sealing order(s) from the underlying divorce and termination proceedings or other proof that

the records from those proceedings were sealed. We deny Srivastava’s petition to the extent it

seeks a writ requiring the records from the bill of review proceedings to remain sealed or partially

sealed based on the alleged sealing of the underlying divorce and termination proceedings.

       We also deny Srivastava’s petition to the extent she argues that the trial court abused its

discretion by lifting the April 17, 2017 sealing order regarding the records of the bill of review

proceedings. Srivastava takes issue with the trial court’s findings in the redaction order that the

parties did not follow the procedures of Rule 76a to seal the bill of review proceedings and that

“the orders herein are in the best interest of the child, including the ability of the child or her


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  Case 19-10782        Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04             Desc Main
                                   Document     Page 26 of 38


representative to access these records in the future.” After denying the bills of review, the trial

court held a hearing on its own motion to unseal the court records in the bill of review proceedings.

The trial judge purportedly stated at the hearing that the court would unseal the records from the

bill of review proceedings on August 25, 2017. Srivastava has not provided this Court with a

transcript from that hearing. Without a complete record, this Court cannot determine whether the

trial court could reasonably reach only one conclusion regarding unsealing the records of the bill

of review proceedings. Accordingly, we deny the petition to the extent it seeks a writ directing

the trial court to vacate its order unsealing the records in the bill of review proceedings.

                                             Conclusion

       We conclude the petition should be granted in part and denied in part. We conditionally

grant the writ and direct the trial court to redact the child’s name and date of birth from all

documents that were filed in the trial court in the bill of review proceedings. We further direct the

trial court to issue a written order requiring those redactions be made within fifteen (15) days of

the date of this opinion. A writ will issue only if the trial court fails to comply with this opinion

and the order of this date. We deny the petition on all other grounds.




                                                    /Lana Myers/
                                                    LANA MYERS
                                                    JUSTICE




170998F.P05




                                                –11–
  Case 19-10782       Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04             Desc Main
                                  Document     Page 27 of 38


Order entered February 12, 2018




                                              In The
                                  Court of Appeals
                           Fifth District of Texas at Dallas
                                       No. 05-17-00998-CV

                             IN RE GITA SRIVASTAVA, Relator

                 Original Proceeding from the 470th Judicial District Court
                                   Collin County, Texas
                           Trial Court Cause No. 470-05429-2016

                                             ORDER
                           Before Justices Lang, Myers, and Boatright

       Based on the Court’s opinion of this date, we CONDITIONALLY GRANT IN PART

and DENY IN PART relator’s petition for writ of mandamus.                We CONDITIONALLY

GRANT the writ in part and ORDER the trial court to redact the child’s name and date of birth

from all documents that were filed in the trial court in the bill of review proceedings. We further

ORDER the trial court to, within fifteen (15) days of the date of this opinion, issue a written

order requiring those redactions be made. We further ORDER the trial court to file with this

Court, within twenty-one (21) days of the date of this order, a certified copy of its order(s) issued

in compliance with this order and with the Court’s opinion of this date. Should the trial court fail

to comply with this order, the writ will issue. We DENY all other relief requested in the petition

for writ of mandamus.
  Case 19-10782       Doc 69      Filed 06/24/19 Entered 06/24/19 12:09:04             Desc Main
                                   Document     Page 28 of 38


       Following confirmation of the trial court’s compliance with this order and the Court’s

opinion of this date, the Court will issue an order lifting its August 24, 2017 order staying the

district court’s decision to unseal the records in the bill of review proceedings in trial court cause

numbers 470-05429-2016 and 270-55383-2015.

                                                      /s/     LANA MYERS
                                                              JUSTICE
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 29 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 30 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 31 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 32 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 33 of 38
Case 19-10782   Doc 69   Filed 06/24/19 Entered 06/24/19 12:09:04   Desc Main
                          Document     Page 34 of 38
             Case 19-10782      Doc 69      Filed 06/24/19 Entered 06/24/19 12:09:04                 Desc Main
                                             Document     Page 35 of 38

rnglaw@verizon.net

From:                rnglaw@verizon.net
Sent:                Thursday, June 20, 2019 4:04 PM
To:                  'Mattera, Alex F.'
Subject:             RE: In re Greenhut - Order Sealing Case
Attachments:         Court of Appeals Decision of 2-12-2018 Rejecting Reimposition of Sealing Order.pdf; Order on Court
                     of Appeals Decision of 2-12-2018 Rejecting Reimposition of Sealing Order.pdf


Dear Alex:

Enclosed please find the Memorandum Opinion and Order of the Texas Court of Appeals. Apparently, the trial court, sua
sponte, indicated that it would unseal those records effective August 25, 2017 as part of the bill of review proceedings.
Your client sought a writ of mandamus. The Texas Court of Appeals stayed the trial's court decision to unseal the records
and requested a response to the petition from my client. Ultimately the trial court then executed an “Order on
Redactions of Sensitive Data”. Apparently the trial court agreed to permit the redaction of “full personal identification
numbers and full financial account numbers” from the trial transcript “due to privacy concerns”, even though no such
information actually existed in the transcript. Furthermore, the trial court found the applicable state “family code”
required the child's name and date of birth to be included in the court records. I sensibly your client was not satisfied
with the scope of the reaction order issued by the trial court and ask that at that be vacated as part of a Writ of
Mandamus.

The upshot of the decision is that the Texas Court of Appeals while stating that the protection of children from abuse “is
of the utmost importance in Texas”, nonetheless found that the trial court did not abuse its discretion and did not
engage in reversible error as a result of effectively unsealing the parties’ state court divorce records, concluding that “In
light of the authorities permitting information regarding child abuse to be unsealed and the lack of a complete record,
Srivastava has not shown that the trial court could have reached only one decision with respect to whether privacy
interests clearly outweighed the presumption of openness. This Court may not make factual determinations
regarding disputed facts or substitute its opinion for the trial court’s opinion. Accordingly, we conclude that the
trial court did not abuse its discretion in refusing to redact the information pursuant to privacy concerns.” Pp. 9‐10.

In light of this superseding order from an appellate court affirming the trial court's decision to effectively unseal its
records, I ask that you now, in light of the redacted objection to your client's proof of claim, withdraw your 2nd Motion
to Compel the Debtor to Withdraw and Redact, as the suppose it “order” you sent to me was effectively nullified as of
February 12, 2018. I look forward to your taking action no later than the close of business tomorrow so that both of us
can avoid the necessity of appearing on this matter come Thursday next. My best regards to you and yours! I remain…

Your devoted colleague,


/s/Richard N. Gottlieb, Esq.
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Board Certified Specialist – Business Bankruptcy Law – American Board of Certification*
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              Case 19-10782                Doc 69
                                          Filed 06/24/19 Entered 06/24/19 12:09:04 Desc Main
                                           Document      Page 36 of 38
*Original Certification 1995; Re-Certified 2000, 2005 and 2010
Pursuant to Mass. SJC Rule 3:03, The American Board of Certification is “a private organization whose
standards for certification are not regulated by the Commonwealth of Massachusetts.”

P.S. in case you are wondering I was able to download a copy of both the memorandum and order from the following
public websites:

Memorandum= http://search.txcourts.gov/SearchMedia.aspx?MediaVersionID=ee5abb20‐fcc8‐49ed‐bab5‐
885e387ec5d7&coa=coa05&DT=Opinion&MediaID=1d177846‐f3b8‐4d2c‐a183‐fe6492de5fa1
Order= http://search.txcourts.gov/SearchMedia.aspx?MediaVersionID=5a491a88‐ddcd‐4145‐9845‐
6af0230ca990&coa=coa05&DT=Order&MediaID=b522c962‐00d5‐487e‐888c‐ff3d0e927a2a

From: Mattera, Alex F. <amattera@psh.com>
Sent: Thursday, June 20, 2019 1:50 PM
To: rnglaw@verizon.net
Subject: In re Greenhut ‐ Order Sealing Case

Dear Richard,

Thank you again for your call back this morning. As we discussed, the order sealing the above‐referenced Debtor’s and
Ms. Srivastava’s divorce case is itself sealed in that very case. My client is agreeable to providing you with a copy of the
order subject to your treating the order as sealed and keeping the order confidential until further order of the
Bankruptcy Court or the Texas court originating the seal order. Attached please find a copy of the order, which is being
furnished subject to these terms.

Yours,

Alex




                                Alex F. Mattera
                                Counsel
                                Partridge Snow & Hahn LLP
                                30 Federal Street
                                Boston, MA 02110
                                t: (857) 214-3118 ∙ f: (617) 292-7910 ∙ c: (978) 930-7300
                                amattera@psh.com
                                Learn more about our lawyers at psh.com




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861-8200, and purge this e-mail message from your computer system immediately. Thank you.




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             Case 19-10782      Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04                Desc Main
                                            Document     Page 37 of 38

rnglaw@verizon.net

From:                rnglaw@verizon.net
Sent:                Thursday, June 20, 2019 4:12 PM
To:                  'Mattera, Alex F.'
Subject:             Copy of Formal Redaction Order unsealing court records
Attachments:         Case No. 05-17-00998-CV - Order on Redactions of Sensitive Data (003).pdf


Dear Alex:

For your further edification enclosed please find a copy of the order (from which your client ostensibly sought a Writ of
Mandamus that was ultimately rejected), formally unsealing the records of the state court litigation. I have highlighted
the effective language on the last page of the document. My best regards as always! I remain…

Very truly yours,

/s/Richard N. Gottlieb, Esq.
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*Original Certification 1995; Re-Certified 2000, 2005 and 2010
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standards for certification are not regulated by the Commonwealth of Massachusetts.”




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  Case 19-10782      Doc 69     Filed 06/24/19 Entered 06/24/19 12:09:04             Desc Main
                                 Document     Page 38 of 38


                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                            DISTRICT OF MASSACHUSETTS


 In re                                                IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                     CHAPTER 13
                Debtor                                CASE NO.: 19-10782


                                CERTIFICATE OF SERVICE

       I, Richard N. Gottlieb, Esq., hereby certify that I have this day served the foregoing

Objection of Debtor to Second Motion of Creditor Gita Srivastava to Compel Debtor to

Withdraw Filing and Redact Document electronically by the court’s CM/ECF System.

Date:6/24/2019                               /s/Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO # 547970
                                             Law Offices of Richard N. Gottlieb
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Persons served:

Carolyn Bankowski, Esq.
Chapter 13 Trustee
(Served via CM/ECF)


Alex Mattera, Esq.
Partridge, Snow and Hahn, LLP
Counsel to Gita Srivastava
(Served via CM/ECF)
